
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
11 The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent’s failure to properly supervise his non-lawyer employees led to his clients being charged excessive interest on advances for living expenses. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline, in which the parties stipulated that respondent has violated Rules 1.8(e)(5)(iii) and 5.3 of the Rules of Professional Conduct, and that the misconduct was negligent. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Damon J. Baldone, Louisiana Bar Roll number 21997, be and he hereby is publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
